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                                IN THE UNITED STATES COURT OF APPEALS
                                            FOR   THE    NINTH     CIRCUIT



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                                              TATE DAVID PROWS                       FILED                  2024
                                            BENJAMIN BLANCHARD,                     DOCKETED
                                               Petitioners, Next Friends                            DATE       INITIAL
                                         IN BEHALF OF KURT BENSHOOF

                                   Blanchard District Case: 2:24-mc-00043-JNW

                                           Prows Appellate Case: 24-4394

                                       Prows District Case: 0:24-op-04394-JNW

                                   PETITION FOR WRIT OF MANDAMUS:
                            TO COMPEL PERFORMANCE OF OFFICE AND ISSUE WRIT

                                        28 USC § 1361 & 28 U.S.C. § 1651


                    Petitioners come    before the Honorable       Court with this Petition for a Writ of

             Mandamus to compel Respondents,            Western District of Washington, Ninth District to

             perform their duty and issue a ruling on a Writ of Mandamus for Kurt Benshoof.

                                                         PARTIES

             Petitioners:   Tate David Prows, who resides at 225     W Chestnut St, Oxford, Ohio 45056.

                             Benjamin Blanchard who resides at 3201 Anata Dr, Zephyrhills       FL, 33541.

             Prisoner:       Kurt Benshoof who is imprisoned at:
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                              King County Correctional Facility, at 500 Sth Avenue, Seattle WA 98104,

                              Preliminary Holding Cells

             Respondent: Western Washington District Court, Seattle Division,

                                        700 Stewart Street, Suite 2310, Seattle, WA 98101

                                 TIMELINE OF NON EXECUTED WRITS OF HABEAS

             1.     Petitioner Blanchard filed his Petition for Writ of Habeas into Western Washington

             District Court, Tacoma on 07/15/2024 utilizing notice of              28 USC     § 1443 (1 & 2) as

             Prisoner Benshoof was being held without Pro Se materials to continue litigating his

             numerous        Federal,    State,    and   Municipal   Cases   and   arrested   under   suspicious

              circumstances with a non verifiable warrant and on unsubstantiated charges.

             2.         Blanchard’s Petition was Docketed as a miscellaneous case: 2:24-mc-00043-JNW.

              3.        Petitioner Prows’s Petition,      24-4394, was received by this Appellate Court, on

              07/16/2024,     and Docketed        0:24-op-04394-JNW,   in Western District Court, Washington

              on 07/17/2024.

              4.        Prisoner Benshoof, on 08/06/2024, entered his own Petition for Writ of Habeas

              into 2:24-cv-01110-JNW, submitted from scrap paper clean enough to pencil on, and was

              filed by Next Friend Molly Anderson,            who received it surreptitiously from Benshoof

              during one of his Muni/State Court appearances.

                                            IS HABEAS STILL THE GREAT WRIT
                                          OUR FOUNDING FATHERS DEEMED IT?
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                    The Western Washington              District Court   Judges    believe   they    can    imperiously

             ignore three Petitions for Writs of Habeas Corpus, two of them over a month,                     which are

             to be executed within three days. (28 USCA § 2243.)

                    There      have     been   no   decisions   or executions     of all three      Writs   within    any

             reasonable timeframe instructed by § 2243 within the Seattle District Court.                   Benshoof’s

             paper scrounged petition evidences he lacks even the meanest ability to defend himself in

              all of his cases from 11th Appellate to King County Municipal(KCM).                       KCM     will not

              even grant him the most basic access to computers that an incarcerated Pro Se has in

              General     Population,    because    he is STILL     being held     in the Processing        Cells    since

              07/03/2024.

                        Every single one of these Benshoof cases that the 9th Circuit and 9th District is

              dealing with, stems from a single Lack of Jurisdiction under RCW                       26.09.050 in the

              Washington Municipal Cases, contested from the beginning by Benshoof who does not fit

              the parameters defined.

                        Benshoof has desperately been trying to “get an adult in the room,” as the mantra

              has become for every Pro Se across America.            We, Next Friends from spanning the

              United States and hailing from Florida and Ohio, have digitally exercised our right to

              Associate with Benshoof, and built strong bonds with him long before he was

              imprisoned. We have spent money, time, energy and resources trying to successfully

              execute two Petitions for Habeas Corpus that the Seattle District can’t even bother to look

              at.
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                                                     28 U.S.C. § 144

                     The cornerstone of American Justice is the impartial Judge who discerns all cases

             with an unbiased eye.      When the potential Bias or Prejudice of a Judge is raised, it is in

             the best interest of the System for that Judge to recuse themselves.     Benshoof has crossed

             paths with practically every Judge in the Western District, and at this point there is

             implicit evidence of a Bias, if Judge Whitehead cannot even execute a Writ of Habeas as

              instructed by the 9th Circuit Court.

                        From an external viewpoint, Benshoof has labored mightily against Judicial Bias,

              as case by case of his goes unrepresented, and the Judicial Juggernaut steamrolls along,

              all Judges knowing he is incarcerated and cannot defend himself.      Benshoof has a Federal

              Case against Judge Whitehead,       and there is no snowballs chance in Hell, that Judge

              Whitehead can be impartial, despite what Chief Judge David G. Estudillo believes in his

              Order, [DK 16] 2:24-cv-00382-JNW.

                        “Recusal of judge for judge’s alleged personal bias was not warranted by fact that
                        in previous case Court of Appeals reversed judge’ sanction order...but instead to
                        preserve appearance of justice in what had become a complicated and
                        acrimonious case.” 28 US.C.A. Sections 144, 455. Yagman v. Republic Ins., 987
                        F.2d 622 (9" Cir, 1993).

                        The Municipal, State, and District Courts of Washington have become embedded

              in one of the most Complicated         and Acrimonious     disputes possible, an entire State

              Judicial System pitted against a Pro Se litigant.        Indeed, all because he has correctly

              shown, the Emperor has no clothes, or, put more simply, the Court has no jurisdiction.
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                    The biggest goal of either Petitioner’s Writ of Habeas, has been to give Kurt

             Benshoof the     chance    he needs     to defend    himself in all of his cases,   unmolested,

             unhindered,    and with an unbiased         Judge   and   adequate materials to do so.     Either

             Petitioner would wish the same, if by some chance they became unlawfully incarcerated.




                     Under penalties of perjury, I declare that I have read the foregoing petition and that

             the facts stated in it are true.




                                  Respectfully submitted this 14th day of August, 2024




                                                            enjam@in Blanchar
                                                          3201 Anata Dr
                                                          Zephyrhills, FL 33541
                                                          Bennyblanch@protonmail.com

              State of FLORIDA County of Pasco

              Sworn to (or affirmed) and subscribed before me by means of physical presence or

             __ online notarization, this       / 4G ft day of     A.tust         , 2024 by Benjamin

              Blanchard who produced FL DL            E82.       ~ OF    77-6 G-O           as identification,
(6 of 8), Page 6 of 8                  Case: 24-5056, 08/19/2024, DktEntry: 1.1, Page 6 of 8




             regarding the attached instrument described as: Petition for Writ of Mandamus, and to

             whose signature this notarization applies.

                OZ                                                              notary public signature
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                                        VE                     Harmow           notary public printed name

                                 apn              BRIAN K, HAMMOND
             Seal            \          SB,       Notary Public
                                           e      State of Florida
                                             VG




                            in           4        Comm#    HH336265
                                 NEN”          — Expires 11/29/2026




                                                            as
                                                                        Tate David Prows
                                                                       225 W Chestnut St,
                                                                      Oxford, Ohio 45056
                                                                     Tatemo22@yahoo.com
                                                                         (513) 460-2078




              State of OHIO County of Butler                                                         Lo

              Sworn to (or affirmed) and subscribed before me by means of “physical presence or

              ___ online notarization, this                 [ ft       day of     Ay vo r          , 2024 by Tate David Prows,
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             who produced a Drivers License as identification, regarding the attached instrument

             described as: Petition for Writ of Mandamus, and to whose signature this notarization

             applies.

                 Cuz       Woke                         notary public signature

               Kpgdleen       hh. WouUs                 notary public printed name


             Seal                                                            KATIILEEN M. WOLK
                                                                                  NOTARY PUBLIC
                                                                                  STATE OF OHIO

                                                                              My Commission Expires
                                                                                   June 29, 2028
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